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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION
MELODY JOY CANTU and §
DR. RODRIGO CANTU, §
§
Plaintiffs, §
§
v. § SA-20-CV-746-JKP (HJB)
§
DR. SANDRA GUERRA and §
DIGITAL FORENSICS CORPORATION, §
§
Defendants. §

ORDER
Before the Court is the parties’ [Seventh] Joint Continuance Request. (Docket Entry 67.)
In accordance with the Court’s ruling at the hearing held on today’s date, it is hereby ORDERED
that the parties’ request to continue is GRANTED as follows:

1, Parties shall initiate all discovery procedures in time to complete discovery on or
before June 15, 2022. Written discovery requests are not timely if they are filed so close to this
deadline that under the Federal Rules of Civil Procedure the response would not be due until after
the expiration of the deadline. See Local Rule CV-16(e). Counsel may be agreement continue
discovery beyond the deadline, but there will be no intervention by the Court except in exceptional
circumstances. See id. No trial date setting or other deadline set forth herein will be vacated due to
information obtained in post-deadline discovery.

2. Parties must complete the agreed mediation or other ADR proceeding by June 29,
2022. At the conclusion of any ADR proceeding, a report must be filed with the Court. See Local
Rule CV-88(g).

3. On or before July 13, 2022, parties shall file any dispositive motions, including
motions for summary judgment on all or some of the claims. Further, notwithstanding any deadline
provided herein, no motion (other than a motion in limine) may be filed after this date except for
good cause.

No further extensions will be granted absent extraordinary circumstances.
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SIGNED on February 25 2022. 1 Dip®
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Henry J. Bemporad
United States Magistrate Judge
